                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                              September 21, 2016
                              No. 10-16-00296-CR
                                       
                              WILLIE MAJORS, III
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                                center-4254500
                        From the 413[th] District Court
                             Johnson County, Texas
                            Trial Court No. F49961
                                       
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JUDGMENT

	This proceeding has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the proceeding, it is the judgment of this Court that the proceeding is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

